URTLED: SEATESBISTRICH COURT FOR CHECOUTEERN DISTRICTOFFEXAS

 

American Farm Bureau Federation, et al.

Plaintiff(s)
Case No.: 3:23-cv-00020

 

VS.
U.S. Environmental Protection Agency, et al.
Defendant(s)
AFFIDAVIT OF SERVICE

 

I, Zachary Thibodeaux, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons; Complaint for Declaratory and Injunctive Relief with Exhibit
A; Civil Cover Sheet with Attachment; Plaintiffs' Rule 7.1 Corporate Disclosure Statement; Motion and Order for Admission Pro
Preliminary Injunction with Exhibits; (Proposed) Order on Plaintiff's Motion for a Nationwide Preliminary Injunction; and
Galveston Division Rules of Practice in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 02/15/2023 at 2:43 PM, I served Office of the United States Attorney for the Southern District of Texas c/o Civil Process
Clerk at 1000 Louisiana Street, Suite 2300, Houston, Texas 77002 with the Summons; Complaint for Declaratory and Injunctive

Jeanne Thode is described herein as:

Gender; Female Race/Skin: White Age: 50 Weight: 140 Height: 5'5" Hair: Bionde Glasses: No

] declare under penalty of perjury that this information is true and correct.

Lodary Vlahng

Zachary Thibodeaux

03/02/2023

 

 

Executed On
Client Ref Number:22721986

Job #: 1614438

 

Capitol Process Services, Inc, | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

 

for the
Southern District of Texas

American Farm Bureau Federation, et al. }
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Plaintiffis) )

v. Civil Action No. 3:23-cv-20

U.S. Environmental Protection Agency, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Office of the United States Attorney,
c/o Civil Process Clerk,
1000 Louisiana St.,
Suite 2300,
Houston, Texas 77002

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure.. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Kevin S. Ranlett Timothy S. Bishop
James B. Danford, Jr. Brett E. Legner
Mayer Brown LLP Mayer Brown LLP
700 Louisiana Street, Suite 3400 71 South Wacker Drive
Houston, Texas 77002 Chicago, Illinois 60606

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Nathan Ochsner, Clerk of Court

Date: February 13, 2023
s/V. Aranda
Signature of Clerk or Deputy Clerk

 
